        Case 1:18-cv-00204-TCW Document 196 Filed 05/10/18 Page 1 of 2



               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                BID PROTEST

FMS INVESTMENT CORP., et al.,                       )
                                                    )       No 1:18-cv-00204-TCW
               Plaintiffs,                          )       (consolidated)
                                                    )
       v.                                           )       Judge Thomas C. Wheeler
                                                    )
THE UNITED STATES,                                  )
                                                    )
               Defendant,                           )
                                                    )
       and                                          )
                                                    )
PERFORMANT RECOVERY, INC., et., al.                 )
                                                    )
               Defendant-Intervenors.               )


                       TRANSWORLD SYSTEMS, INC.’S
             NOTICE REGARDING DEFENDANT’S MOTION TO DISMISS

       In accordance with the Court’s May 7, 2018 order, see ECF No. 190, Plaintiff Transworld

Systems Inc. (“TSI”), through the undersigned counsel, hereby notifies the Court of its intention

to oppose Defendant’s Motion to Dismiss the subject Protest pursuant to 12(b)(1) of the Rules of

the United States Court of Federal Claims. See ECF No. 189.
        Case 1:18-cv-00204-TCW Document 196 Filed 05/10/18 Page 2 of 2



Dated: May 10, 2018                     Respectfully submitted,



                                         s/Paul A. Debolt
                                        Paul A. Debolt
                                        VENABLE LLP
                                        600 Massachusetts Avenue, NW
                                        Washington, D.C. 20001
                                        (202) 344-8384 (Telephone)
                                        (202) 344-8343 (Facsimile)

                                        Counsel for Transworld Systems, Inc.


Of Counsel:
James Y. Boland
VENABLE LLP
8010 Towers Crescent Drive, Suite 300
Tysons Corner, Virginia 22182
(703) 760-1997 (Telephone)
(703) 821-8949 (Facsimile)

Chelsea B. Knudson
Michael T. Francel
VENABLE LLP
600 Massachusetts Avenue, NW
Washington, D.C. 20001
(202) 344-8384 (Telephone)
(202) 344-8343 (Facsimile)
